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                      UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                         JUL 24 2019
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                        No. 19-50242

                  Plaintiff-Appellee,            D.C. No. 3:18-cr-03677-W
                                                 Southern District of California,
  v.                                             San Diego

DUNCAN D. HUNTER,                                ORDER

                  Defendant-Appellant.

       Appellant’s opposed motion for an extension of time to respond to the
court’s July 23, 2019, order to show cause and appellee’s motion to dismiss for
lack of jurisdiction (Docket Entry No. 4) is granted. Appellant’s response is now
due September 6, 2019.
       Failure to comply with the July 23, 2019, order may result in the dismissal
of the appeal for failure to prosecute. See 9th Cir. R. 42-1.
       Appellee’s motion to dismiss for lack of jurisdiction (Docket Entry No. 2)
will be addressed by separate order.
       Briefing remains suspended pending further court order.



                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT


                                                  By: David J. Vignol/Deputy Clerk
                                                  Ninth Circuit Rule 27-7



DV/AppComm Direct Criminal
